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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater                 MDL No. 2179
Horizon” in the Gulf of Mexico, on
April 20, 2010                                             Section: J

THIS DOCUMENT RELATES:
Case No. 1:10-cv-01314
Case No. 1: 10-cv-02677                                    JUDGE BARBIER
                                                           MAG. JUDGE SHUSHAN
_____________________________________/


   ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL OF RECORD IN
                        RELATED CASES


       Considering the foregoing pleading and finding it to have merit,

IT IS ORDERED that the motion to withdraw as Attorney of Record by Carl D. Campbell, III is

GRANTED. The Clerk shall terminate Carl D. Campbell, III as counsel of record in the

captioned matters.



Signed this _______ day of ______________, 2012




                                    _______________________________________________
                                                   US DISTRICT JUDGE
